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                                                                                    •"1 """' ·'" """'' '-' ·""' -" !I -'•' l""'I ·'-"' " 11 .rd .l!·' 'l l qu " dnl'""! " P-' 1" !·'"'" "1 .Pdo.,
     " ,>."" I 1011 " I' ietp '·"'•' " isnq 11 "' " ' .l1uo 01 ,,.,.mn,.1.1 ·"I' .ci1111 .1u 1,,,., .iq . )ff-I I\'. 0 1 l'·'I'·"'-"" "" " ' dtu " I •" ll '[ll .11 '·""•' id '! -' ·'- '""''I
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       ·' l'I '" ri!.f<)) Jo ,,,,,_,,i ·" [l I'•'" ' e.1:0' •"I 0 1 ""-''l"-'!I• I""I, I'"" "!·''" 1.1 .1 .1<,pd 11 " sJJ,>lll ll"I' ,·,·.,rn, nq 11 "'"' l'·'!I !1""1, e n i LI ""I ;'l'l"-";i-"
             W   1rn,. r,i U -'·"l"''.I" iiu!l' !-'o.,d ~,p ,>H~'i-iu Ol s·«o!lll'""·' l"""!"l' I' " Jo " !·' •H '-1.1 \\,)<I l' I"' 01 .)ff·JJ\'. ,l\jl ,·· " !·' "' [I"" lU'[l 1'"1" '1·"
               ""!'! 10,1<! <!l! ,.! ,l. 1,,,p UOl)O,.uxl.t<\) l ll,)L1H lo1,1 \ ,>( I ->!lll<>Clo,,:-1 •' " I"" " I' I\'. ,e " ·"""'I .i'l !Ht,>""ll"l!l"' I l"f;,uum_.1 l ll -><<1<lop .,.1r
                  ,\)IUtll Ln) " '· ) ·"P I'" " """"·"''"'"" I' \. JO ll< ,)111),Wtb( I """"-"'.I\ _l•' ,)] ns ·" I I " ·" ,\l ,l< [ llt,)ll(, ),lJi!\ ' I'-'" ·"\' -'~1 <J) :O'm1uo.1.1
                             I OM,T "! ,I-I"" ,·,,sod.mt! '""'·'" -'l"" >.l -"'I U""I ·"I I ,osn 11! -" l '"ll                   '·"'•'""'"'! Tl """ ,1-11 1<1 Ol ,).l.1 uo,,u -1\jl ;; ,, ! L-1',nS,)J .i
   • )Sr! " l l' ·' I'·""'" "'"' '" "" I ·"ll 'l'! \I ' ' " e.,,,r I! .l ,ll,llet1.11 "I' 0\ P·'''-'" 'I'"" JOU ' ! ..Jsn ')U.)l{!,,,,.,;-J \ • 11·'" ·"1 ·"ll ·'·' I""' Hi,lll[,,s·.11 ''I"
                     -"U m,1,'1u., ,Hp l ,l,>l u 1etp s·,1ss,ltmm 1 11""" f" 'l'I'"' I, m '""°I •'l'l" q):j,"'I .to ,·1<r,e.r):j .\,w •"-"" l'. 'I' Ol ;i ur '"'II " !<H r .{<) .)SI'
 o I I'·'P·"' -"" '"'" <ium I " 1-l• \\Uo.> Jo i, II e.1 :)SI" I " 1e t1_ I. 'U""I •' l'I'-'!):j·"!l .to rn eJia' ,1lp l'•'llWJ:i -Ml 01 SllO! lL'•' !I' I"" I> I""' o, r.r. m .1.1 .Lo ud II
 q .>,ll LI l "l[l » ,) LI! "" I 11""" I" ' l' len b U "' "' "'I ·' f'l"·' !:-/.101 ,,u lll ,,_1;-J " ,Pl[l!•' J" :-1,ul'!-'"-'d •"11 ,lle'ii,>l, o L""'!l! I'""·' l"""' l !l' I'" -lO "!-Pl!-'
               1
            \\, " I' I' " Ol •)S I'! •lljl ,-,,z !-" " I ll n, ll<ljl I " I'" 1-' " ! ll "! " ' o, r,I OU ' ! •>.I, lll) . )S J'I ' " U 110 LJ 1 ,\ L!l ll,l U<>!l II In st I J Ir !·'" 1<1 ll :I rn.,rndo I,"·'(
                 ·''!"""'" "':) -1L jl I' " r, ""!l"-' h ill' " ' I'\ ' JO '"' \[([) Jrd,l( I """"-" '!. \ \ _10 ,neis ·" I'              Lr,),) \\),)'I   )ll,ll l1,>-l.ll'i 1. I" " \>\ ' ·' 'I l " ' .\i\ll[l.l0.>.• 1
                                                           (un 11i," " "'-'·'"1'-ll1'-'·'·' / -'·'1-"'-"' I ~,.,, -,,,_p,llllllrnuo / / '" lllj :iu11c. ) ) _<.l!l! " Ull e .10 ·si tu ,sl(,,d :\ll.nn.,s 1e 1.~,
    .,.,.,,, ,.\01dm-1 ·"'" 1-1.,ed "'"-!! ' ·"''"' ll ·" " ''-' ·''I ''"'"·"'! ·""'" ,[,l l)l>llO.l '" -»Ll_j,).[ -'" W ""-"'Jl )OIi ·'"'" ·""'I"''-'-' t< \JLU0.111! ·""'·' ~ur""' I'' \,) " " I.\\
                                      ,1.1.1,is.,.1 "! l'l•Hf ,ltll!->.1,>.t .,o ·i-r I ll-1 " .u • ·m.1HLio1<i" l•>,llll!H-"" l lll<l.l_J I'•'-'!·' ' 'I' 1rtp ,>lll O.\lU un f-''' "' I se.11 '1-'!'I ,
        ·""'·'l""'d 1; I -(J 1.\0.) ·"P .lq l'•''·' •)H" " '" '"'!h•'"I, u r ·""'""' ,np ·"' ""'•• t ,n.urn, l! I'·'-' ·' r " •'·'·'" <ll Hlii!-' ,.m,, >]'\-' ["'l" I!) rfo. \
       l'•'l"I" !·' •1'<!1) .1.1o u, ,mo lOljl l-'" Hl,ljll]'IH'-\l I'"""''-'·' "J" "'''JI-' UI J.'-,lil'" -'ll) "'·" ·"I l'"•'l"'I                           l'I'°·' ·' ['·' !"•'I' .i1 s-no !·"I " ,·e11 l~'i.-,,
"l'l'l"d -.,,,,,.,pu "<f r; I "(11 .\0.) ·"IL .i, I l'·"-'•W" ' '"'·'"!"l' i 11 '"" '' "l ·'I' ' ".-d 01 «                 !'"'""''· \\ Jo ,, 11 ns ,1l]l "" '-'I pv.\!.1.ll' ""'"I ·' l'l''·"·';i·'"I .w
   '1Ue.1il .\11i, 1'""'1 "" ,1.llrii l<>U l' !I' uo r11r,1<)(i.lO,) 111, Hudop.1,>q -'llliO lUl.\,J ,-,~o,u .11]!1\ •"ll 1e1p 'ii L<E.\u .>p .{< [ I" " ' .\lj'JJTI,)d,u .1- lClljjO """
   "'" 11"-'·"ll l-" """ ·' 01 ;i" !''".J,'-' -iH -,,'ii,>.\ OHf'l",I 01 ,, •"" l·"!I' 01 l'•'" 'l·" i""' "''-'~' ""!"""·"'.l"! '"'I ' 1d,1'[ ·" I' ', )Sn '"-""" ' "'l'"I
          I"" !"' '-' ·' J <> ''-'•'l " " I ,'"'"' ·"il "' "'ii \ · -'!"'•'I'" ",I Iii -( I I, \(U ,1lfl "' "-!I .1,l\0.,,,.1 ' " ' " "'I ·' l'l"·'!:;J·'"I .10 llw.,;-J te "! -' ' ·"'·""""I 11'"'"
l'!"" 01 '"' " "·"!.\ \ _10 ,lle ls ,>op uon.q ""!11"" % ,Jo ·'-""-'!l•'"·"I •" I, '" 11 .)( [-I!\ 11ap ,1\i"p:• 1-"""'I·'" tp->f! pop                                       ""!""·'"" '""' '!'[, :;J,u.mp
     ,llU!l "" l \ • ·,-,_"l""·"l' I\ 111011"1'110.ILI l ,lJ,1fj .1' .iu" .i1.Pdo.1<I p->.l,lllllllS H 'iirnz q el!-'·'-' :-icup 111·'"! ,hc~l.1t1'1 .\rrn -"' I .>H U,>]>1 t1,,1 (i l -(] I,\(), )
       ·"ll ,(q p,n,-w" ' ·" ·' ·" '! ""I II""" "' ·' I" \<).,d ()) "! ' ""·"'. I\ JO '""'S ,ll[l "" '-!I 1,-,_,u., 1' l"'" 'I '"' """'I ·' l'i"-'!il'.wi ·' " S)U H.,:-1 ·"'" I'"'[
     ll0ll1Uod.H\) 1U,1lUdo 1->1,l( ] ,1lllHmo-':,] ·'"]11U .\\ [I J\'. ,>ll) '" 'I' l-'ill,11' .\1p,111,,Mb.r lJPU o,nr1es·.1 ,>.11w.1 mp ;i"!-"'(I -'•"l-''!11 "1'"•""! '" "
    se.11 Lm p []U.> ·" I' <> Hrr _j ps.1.1 q      '·'·"'"! ll l s.,;-J """"' .\[<lorn ,· ll),l}j 'J,l.1![1" " ""I " 01 11U.>-1 'fl l ,>,Jmto., Ol I '"" 'I· '-' I' " " ·" ""Id ,>tp d 11 1"'1-' 'J
      ,\[le ll!LI ! oq 11 1jJ.lfl 'I l! I\ 11"-' -• ~ l ;i ur.1110 'UO! !HJ0.f. 1n,) !U,l11Hln 1,-,,,1( I        -'!"''"'"•':i ,1:,~"" \\]lJ X ·' L[ ! ur .\11-wclH.l " " I' rn f'•>.ln 1drn.1 ·"I OJ
 l'·"!-'"'I' "" .].),)Lil" ' ""'I l"lll•"' "" 'I" -" II"· ' ·" ll ).),1llllo., OJ l'·" 'l\j,).1 "" ""(1 1' " " 'l'•'\I 'll'" l l1' L[L " " -""'"I ,., ""LI\ 'lt .\\Oll'I l()U ' ! .) ,Ul !J<
      ueoj e '" '-'•' 118,l J.l,l.l!I' JOH pue '•"'° 'IJ -Jl ll -'•'-"' " '' "l l' ·'-'"' 11" ,-,J,J.\\ ,\,11p ,ill,\\ ' L!otJo,,rod.rn.) lU,llt1do 1,ll,l( ] -lllllOUo.\,] •"-''lt1" .ll[! l\
          ,lip 10, s·.r.>.'LlJo ' "" ' I se p,-..lo 1<hu ., JO U •'-"' ,"'" '(] p u tr 'IPH l[l<>!] ·11 e.1 J,1'[ )0 1n, uo s·rr.11 L[ l•'H .'i!U!lll!" I-' ·,p.->f] o ) .1 0 -'·'-'!U" Ll '"' I e o
 11"·' ,Hfl l -'-' " LH J.> ()\ l'·"'\J-l- 1 J '" I I!"·' ·''I! chHf.>ld ·"'"'( ] "" , .,_, I·'" " ·"ll ):jl) !-~l' l ,np, l<o,.HI e ~tu !l "'I' ·r·'l"!I'~ '-' I'"" )so i '" II II"-' ·"LI
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